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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                        CASE NO. 25-mj-142 (SGE)
________________________________________________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,
                                                NOTICE OF APPEARANCE
v.

JUSTIN DAVID EICHORN,

                 Defendant.
________________________________________________________________________

      PLEASE TAKE NOTICE THAT Charles L. Hawkins and Arthur J. Waldon hereby

enter their appearance as counsel of record for and on behalf of Defendant Justin David

Eichorn.

Dated: March 23, 2025                   Respectfully submitted,

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